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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------------X
MARIA JOSE PIZARRO

                                   Plaintiffs-Counterclaim                   No. 1:20-CV-05783-AKH
                                   Defendants,

                          -against-

EUROS EL TINE RESTAURANT and BIILARDS
CORP., SANTIAGO QUEZADA, And SANTIAGO                                        Third Party Defendants
QUEZADA, Jr.,                                                                Jose E. Castro and Eladio
                      Defendants, Counterclaim                               Castro Productions, Inc.
                      Plaintiffs, Crossclaim                                 Answer to Defendants’
                      Plaintiff, Third Party Plaintiffs                      Crossclaims
                -and-

JOSE E. CASTRO, ELADIO CASTRO PRODUCTIONS,
INC., EMITON FERNANDEZ a.k.a EMILIO FERNANDEZ,
NARCISO GOMEZ ZOILIMAR MEJIA a.k.a ZULIMAR
MEJIA, and TOMAS ANDRES PIZARRO ZEPEDA

                                    Third Party Defendants,
                                    Crossclaim Defendants
-------------------------------------------------------------------------X

        Third Party Defendant Jose Eladio Castro and Eladio Castro Productions, Inc. (“Third

Party Defendants”), by and through their undersigned counsel, Answer Defendants and Third Party

Plaintiffs Euros El Tina Restaurant Lounge and Billiards Corp., Santiago Quezada, and Santiago

Quezada Jr. (“Third Party Plaintiffs”) Crossclaims as follows:

                RESPONSE TO STATEMENT OF AFFIRMATIVE DEFENSES
                              AND OTHER DEFENSES

    With respect to Paragraph 1:            Legal conclusion which does not require response.

                   RESPONSE TO COUTERCLAIMS AND CROSS CLAIMS

    With respect to Paragraph 2:            Admit that they are alleging these facts but deny that there

        is any factual basis to allege wrongdoing on behalf of Third Party Defendant.

                                   RESPONSE TO INTRODUCTION
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With respect to Paragraph 3:      Deny all or part of the claims made in this paragraph.

With respect to Paragraph 4:      Deny all or part of the claims made in this paragraph.

With respect to Paragraph 5:      Deny all or part of the claims made in this paragraph.

With respect to Paragraph 6:      Deny all or part of the claims made in this paragraph but

   admit that the restaurant closed in November of 2019.

With respect to Paragraph 7:      Deny all or part of the claims made in this paragraph.

With respect to Paragraph 8:      Deny all or part of the claims made in this paragraph.

                    RESPONSE TO NATURE OF THE ACTION

With respect to Paragraph 9:      Admit that Third Party Plaintiffs assert these claims but deny

   that there is a factual or legal basis for bringing them.

With respect to Paragraph 10:     Deny all or part of the claims made in this paragraph.

                   RESPONSE TO JURISDICTION AND VENUE

With respect to Paragraph 11:     Legal conclusion which does not require response.

With respect to Paragraph 12:     Legal conclusion which does not require response.

                                 RESPONSE TO PARTIES

With respect to Paragraph 13:     Admit.

With respect to Paragraph 14:     Admit.

With respect to Paragraph 15:     Admit.

With respect to Paragraph 16:     Deny knowledge sufficient to respond.

With respect to Paragraph 17:     Deny knowledge sufficient to respond.

With respect to Paragraph 18:     Deny knowledge sufficient to respond.

With respect to Paragraph 19:     Not a factual allegation.

With respect to Paragraph 20:     Deny knowledge sufficient to respond.
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With respect to Paragraph 21:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 22:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 23:   Admit.

With respect to Paragraph 24:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 25:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 26:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 27:   Admit.

With respect to Paragraph 28:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 29:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 30:   Deny knowledge sufficient to respond.

With respect to Paragraph 31:   Deny knowledge sufficient to respond.

With respect to Paragraph 32:   Deny knowledge sufficient to respond.

With respect to Paragraph 33:   Deny knowledge sufficient to respond.

With respect to Paragraph 34:   Deny knowledge sufficient to respond.

With respect to Paragraph 35:   Deny knowledge sufficient to respond.

With respect to Paragraph 36:   Deny knowledge sufficient to respond.

With respect to Paragraph 37:   Deny knowledge sufficient to respond.

With respect to Paragraph 38:   Not a factual allegation.

With respect to Paragraph 39:   Deny knowledge sufficient to respond.

With respect to Paragraph 40:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 41:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 42:   Deny all or part of the claims made in this paragraph.
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                     RESPONSE TO STATEMENT OF FACTS

With respect to Paragraph 43:   Deny knowledge sufficient to respond.

With respect to Paragraph 44:   Deny knowledge sufficient to respond.

With respect to Paragraph 45:   Deny knowledge sufficient to respond.

With respect to Paragraph 46:   Deny knowledge sufficient to respond.

With respect to Paragraph 47:   Deny knowledge sufficient to respond.

With respect to Paragraph 48:   Deny knowledge sufficient to respond.

With respect to Paragraph 49:   Deny knowledge sufficient to respond.

With respect to Paragraph 50:   Deny knowledge sufficient to respond.

With respect to Paragraph 51:   Deny knowledge sufficient to respond.

With respect to Paragraph 52:   Deny knowledge sufficient to respond.

With respect to Paragraph 53:   Deny knowledge sufficient to respond.

With respect to Paragraph 54:   Deny knowledge sufficient to respond.

With respect to Paragraph 55:   Deny knowledge sufficient to respond.

With respect to Paragraph 56:   Deny knowledge sufficient to respond.

With respect to Paragraph 57:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 58:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 59:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 60:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 61:   Deny knowledge sufficient to respond.

With respect to Paragraph 62:   Deny knowledge sufficient to respond.

With respect to Paragraph 63:   Deny knowledge sufficient to respond.

With respect to Paragraph 64:   Deny knowledge sufficient to respond.
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With respect to Paragraph 65:   Deny knowledge sufficient to respond.

With respect to Paragraph 66:   Admit that during the time Third Party Defendant Castro

   was performing work for Third Party Plaintiffs these were the hours.

With respect to Paragraph 67:   Deny knowledge sufficient to respond.

With respect to Paragraph 68:   Deny knowledge sufficient to respond.

With respect to Paragraph 69:   Deny knowledge sufficient to respond.

With respect to Paragraph 70:   Deny knowledge sufficient to respond.

With respect to Paragraph 71:   Deny knowledge sufficient to respond.

With respect to Paragraph 72:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 73:   Deny knowledge sufficient to respond.

With respect to Paragraph 74:   Deny knowledge sufficient to respond.

With respect to Paragraph 75:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 76:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 77:   Deny knowledge sufficient to respond.

With respect to Paragraph 78:   Deny knowledge sufficient to respond.

With respect to Paragraph 79:   Deny knowledge sufficient to respond.

With respect to Paragraph 80:   Deny knowledge sufficient to respond.

With respect to Paragraph 81:   Deny knowledge sufficient to respond.

With respect to Paragraph 82:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 83:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 84:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 85:   Deny knowledge sufficient to respond.

With respect to Paragraph 86:   Deny knowledge sufficient to respond.
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With respect to Paragraph 87:    Deny all or part of the claims made in this paragraph.

With respect to Paragraph 88:    Deny all or part of the claims made in this paragraph.

With respect to Paragraph 89:    Deny knowledge sufficient to respond.

With respect to Paragraph 90:    Deny all or part of the claims made in this paragraph.

With respect to Paragraph 91:    Deny all or part of the claims made in this paragraph.

With respect to Paragraph 92:    Deny all or part of the claims made in this paragraph.

With respect to Paragraph 93:    Deny all or part of the claims made in this paragraph.

With respect to Paragraph 94:    Deny all or part of the claims made in this paragraph.

With respect to Paragraph 95:    Deny all or part of the claims made in this paragraph.

With respect to Paragraph 96:    Deny knowledge sufficient to respond.

With respect to Paragraph 97:    Deny knowledge sufficient to respond.

With respect to Paragraph 98:    Deny knowledge sufficient to respond.

With respect to Paragraph 99:    Deny knowledge sufficient to respond.

With respect to Paragraph 100:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 101:   Deny knowledge sufficient to respond.

With respect to Paragraph 102:   Deny knowledge sufficient to respond.

With respect to Paragraph 103:   Deny knowledge sufficient to respond.

With respect to Paragraph 104:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 105:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 106:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 107:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 108:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 109:   Deny all or part of the claims made in this paragraph.
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With respect to Paragraph 110:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 111:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 112:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 113:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 114:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 115:   Deny knowledge sufficient to respond.

With respect to Paragraph 116:   Deny knowledge sufficient to respond.

With respect to Paragraph 117:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 118:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 119:   Deny all or part of the claims made in this paragraph.

                                 RESPONSE TO COUNT I

With respect to Paragraph 120:   Does not require response.

With respect to Paragraph 121:   Legal conclusion not requiring a response.

With respect to Paragraph 122:   Legal conclusion not requiring a response.

With respect to Paragraph 123:   Legal conclusion not requiring a response.

With respect to Paragraph 124:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 125:   Deny all or part of the claims made in this paragraph.

                             RESPONSE TO COUNT II

With respect to Paragraph 126:   Does not require response.

With respect to Paragraph 127:   Legal conclusion not requiring a response.

With respect to Paragraph 128:   Legal conclusion not requiring a response.

With respect to Paragraph 129:   Legal conclusion not requiring a response.

With respect to Paragraph 130:   Deny all or part of the claims made in this paragraph.
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With respect to Paragraph 131:   Deny all or part of the claims made in this paragraph.

                            RESPONSE TO COUNT III

With respect to Paragraph 132:   Does not require response.

With respect to Paragraph 133:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 134:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 135:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 136:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 137:   Deny all or part of the claims made in this paragraph.

                         RESPONSE TO COUNT III [Sic]

With respect to Paragraph 138:   Does not require response.

With respect to Paragraph 139:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 140:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 141:   Deny all or part of the claims made in this paragraph.

                            RESPONSE TO COUNT IV

With respect to Paragraph 142:   Does not require response.

With respect to Paragraph 143:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 144:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 145:   Deny all or part of the claims made in this paragraph.

                             RESPONSE TO COUNT V

With respect to Paragraph 146:   Does not require response.

With respect to Paragraph 147:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 148:   Deny all or part of the claims made in this paragraph.

With respect to Paragraph 149:   Deny all or part of the claims made in this paragraph.
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   With respect to Paragraph 150:      Deny all or part of the claims made in this paragraph.

                                     PRAYER FOR RELIEF

   1. Deny Third Party Plaintiffs’ right to obtain such relief.

   2. Deny Third Party Plaintiffs’ right to obtain such relief.

   3. Deny Third Party Plaintiffs’ right to obtain such relief.

   4. Deny Third Party Plaintiffs’ right to obtain such relief.

   5. Deny Third Party Plaintiffs’ right to obtain such relief.

                                  AFFIRMATIVE DEFENSES

   I.      As and for Defendant’s First Affirmative Defense

Some of all of the claims asserted fail to state a claim upon which relief may be granted.

   II.     As and for Defendant’s Second Affirmative Defense

Some or all of the claims are barred by the statute of limitations.

   III.    As and for Defendant’s Third Affirmative Defense

Some or all of the claims are barred by the doctrines of waiver or estoppel.

   IV.     As and for Defendant’s Fourth Affirmative Defense

The Corporate Third Party Defendant is not an entity which can be sued.

   V.      As and for Defendant’s Fifth Affirmative Defense

Third Party Plaintiffs have unclean hands.

   VI.     As and for Defendant’s Sixth Affirmative Defense

Some or all claims do not provide a private right of action against the Third Party Defendants.

   VII.    As and for Defendant’s Seventh Affirmative Defense

Any acts and/or omissions that may be found to violate any law were not intentional or with

requisite scienter and Third Party Defendants at all times acted in good faith.
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    VIII. As and for Defendant’s Eighth Affirmative Defense

Other parties are liable for all damages, none of which can be attribute to the actions of Third Party

Defendants.

    IX.       As and for Defendant’s Ninth Affirmative Defense

Defendants have not been properly served.

    X.        As and for Defendant’s Tenth Affirmative Defense

Plaintiffs’ claims are barred by the doctrine of unclean hands.

    XI.       As and for Defendant’s Eleventh Affirmative Defense

The attorneys’ fees and costs sought by Plaintiffs are not reasonable, cannot be awarded by the

Court under the causes of actions asserted, and should not be awarded.

    XII.      As and for Defendant’s Twelfth Affirmative Defense

Third Party Plaintiffs have filed claims in bad faith and made frivolous allegations.

    XIII. As and for Defendant’s Thirteenth Affirmative Defense

Third Party Defendants reserve the right to assert further affirmative defenses as they become

evident through discovery or other investigation.

    XIV. As and for Defendant’s Fourteenth Affirmative Defense

All actions taken by Third Party Defendants with regard to Third Party Plaintiffs were for

legitimate business reasons and no improper action was taken.

Third Party Defendants also reserve the right to pursue any counterclaims against any or both

Plaintiffs.

WHEREFORE, Third Party Defendants pray:

    1. That the Third Party Claims be dismissed with prejudice with judgment entered in Third
       Party Defendants’ favor;

    2. That the costs and attorneys’ fees expended in defending this action be awarded; and
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   3. For such further relief which the Court deems just and proper.


Dated: May 4, 2021

                                                   The Rose Law Group, PLLC



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